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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA



In re:         Patricia Kubicek                      :       Chapter 13

                              Debtor                 :       Bky. No. 13-14287-amc

                                                     :



                                               ORDER


        AND NOW, it appearing that the trustee in the above entitled matter has filed his report and
that the trustee has performed all other duties required in the administration of the Debtor’s estate,

       IT IS HEREBY ORDERED that the trustee be discharged and relieved of any trust; and this
case be and the same hereby is CLOSED, without the entry of an order of discharge.




                                              FOR THE COURT



Date: January 2, 2019                         ____________________________________
                                              JUDGE ASHELY M. CHAN
                                              UNITED STATES BANKRUPTCY COURT
